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      Subject: Re[2]: Rosario, Keith / 139 Gate School House Rd. New Hampton, NY 10958
      From:       "Daniel H. Richland" <drichland@rflegal.net>
      Sent:       1/25/2021 12:52:05 PM
      To:         "Eitan Korb" <eitan@crosbycapitalusa.com>; "Michal Falkowski"
                  <mfalkowski@rflegal.net>;
      CC:         "Yonel Devico" <yonel@crosbycapitalusa.com>;

      Dear Mr. Korb and Mr. Devico:

      Please be advised that we cannot represent you on this or any other matter. Please find other
      counsel to handle this matter.

      Very truly yours,

      Daniel H. Richland, Esq.
      Richland & Falkowski, PLLC
      5 Fairlawn Drive, Suite 204
      Washingtonville, New York 10992
      (O) 212-390-8872 x 402
      (F) 212-390-8873
      drichland@rflegal.net

      Queens Office:
      Richland & Falkowski, PLLC
      35-37 36th Street, 2nd Floor
      Astoria, New York 11106

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      Fair Debt Collection Practices Act Notice: Pursuant to the Fair Debt Collection Practices Act,



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      you are advised that this office may be attempting to collect a debt, and any information
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      ------ Original Message ------
      From: "Eitan Korb" <eitan@crosbycapitalusa.com>
      To: "Michal Falkowski" <mfalkowski@rflegal.net>
      Cc: "Yonel Devico" <yonel@crosbycapitalusa.com>; "Daniel H. Richland"
      <drichland@rflegal.net>
      Sent: 12/29/2020 9:04:17 AM
      Subject: Re: Rosario, Keith / 139 Gate School House Rd. New Hampton, NY 10958

         Hi Michal,

         Could you please send me a retainer agreement that you usually use so we can have it
         signed ? Thank you !

         Best Regards,
         Eitan Korb
         Crosby Capital | O: 786.475.5344| M: 917.400.3129
         60 Madison Avenue - 11th Floor. New York, NY 10010
         1688 Meridian Avenue - 6th Floor. Miami Beach, FL 33139
         www.crosbycapitalusa.com



         Le lun. 28 déc. 2020 à 10:26, Eitan Korb <eitan@crosbycapitalusa.com> a écrit :
           Hi Michal,

           Please find attached FCI's RMA template. The loan number is 9160059398.

           Best Regards,

           Eitan Korb
           Crosby Capital | O: 786.475.5344| M: 917.400.3129
           60 Madison Avenue - 11th Floor. New York, NY 10010
           1688 Meridian Avenue - 6th Floor. Miami Beach, FL 33139
           www.crosbycapitalusa.com




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           Le dim. 27 déc. 2020 à 18:26, Michal Falkowski <mfalkowski@rflegal.net> a écrit :
             Eitan, good evening,

                On this one the borrower did not appear at the 12/14/20 conference and a second
                conference has been scheduled for 1/22/21 at 10am. The borrower reached out to the
                court after the 12/14/20 conference and requested call-in information for the 1/22
                conference.

                If you have a RMA form that you guys use kindly email me a copy so that I can
                forward it to the borrower.
                Very truly yours,



                Michal Falkowski, Esq.
                Richland & Falkowski, PLLC
                35-37 36th Street, 2nd Fl.
                Astoria, NY 11106
                212-390-8872 - Phone ext. 403
                212-390-8873 - Fax
                mfalkowski@rflegal.net
                www.rflegal.net

                Orange County Office:
                5 Fairlawn Drive, Suite 204
                Washingtonville, NY 10992



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                On Tue, Dec 22, 2020 at 9:54 AM Daniel H. Richland <drichland@rflegal.net> wrote:
                 Hi Eitan,

                  Please direct inquiries on this matter to my partner, Michal Falkowski - cc'ed herein at
                  mfalkowski@rflegal.net.

                  Very truly yours,


                  Daniel H. Richland, Esq.
                  Richland & Falkowski, PLLC
                  5 Fairlawn Drive, Suite 204
                  Washingtonville, New York 10992
                  (O) 212-390-8872 x 402
                  (F) 212-390-8873
                  drichland@rflegal.net


                  Queens Office:
                  Richland & Falkowski, PLLC
                  35-37 36th Street, 2nd Floor
                  Astoria, New York 11106


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                  advised that this office may be attempting to collect a debt, and any information obtained may be used
                  for that purpose.



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                  message. This notice is automatically appended to each e-mail message leaving the Richland &
                  Falkowski, PLLC.


                  ------ Original Message ------
                  From: "Eitan Korb" <eitan@crosbycapitalusa.com>
                  To: drichland@rflegal.net
                  Cc: mfalkowski@rflegal.net; "Yonel Devico" <yonel@crosbycapitalusa.com>
                  Sent: 12/22/2020 9:41:03 AM
                  Subject: Rosario, Keith / 139 Gate School House Rd. New Hampton, NY 10958


                    Hi Daniel,

                    I am Eitan Korb and I work at Crosby Capital with Yonel Devico. Could you please
                    give me an update on this case ?

                    Please let me know if you need anything from us. Thank you.

                    Best Regards,

                    Eitan Korb
                    Crosby Capital | O: 786.475.5344| M: 917.400.3129
                    60 Madison Avenue - 11th Floor. New York, NY 10010
                    1688 Meridian Avenue - 6th Floor. Miami Beach, FL 33139
                    www.crosbycapitalusa.com




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